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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No. 21-cv-01073-CMA-NRN
   THE AARON H. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   THE BARBARA G. FLECK REVOCABLE TRUST, through its Trustees, Aaron H. Fleck and
   Barbara G. Fleck,
   AARON FLECK, and BARBARA G. FLECK, on behalf of themselves and all others similarly
   situated,

   Plaintiffs,
   v.
   FIRST WESTERN TRUST BANK,
   CHARLES BANTIS, and
   ANDREW GODFREY,
   Defendants.



        PROPOSED ORDER: UNOPPOSED MOTION FOR TWO WEEK EXTENSION OF
         TIME TO RESPOND TO DEFENDANTS’ MOTION FOR PARTIAL SUMMARY
                                 JUDGMENT


          THIS MATTER, having come before the Court upon Plaintiffs’ Motion to extend the
   deadline to file their Response to Defendants’ Motion for Partial Summary Judgment from June
   5, 2023, to June 19, 2023, and the Court, having reviewed the Motion, the file in this matter, and
   being sufficiently advised in the premises, HEREBY GRANTS, the Motion.

            IT IS THEREFORE ORDERED that Plaintiffs have through and including June 19, 2023,
   to file their Response to Defendants’ Motion for Partial Summary Judgment.

           DONE AND SIGNED this _____ day of June, 2023.

                                                       BY THE COURT:

                                                       _________________________________
                                                       DISTRICT COURT JUDGE



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